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KIRK T. MANHARDT
SHANE HUANG
MINIARD CULPEPPER JR.
J. ZACHARY BALASKO
United States Department of Justice
P.O. Box 875
Ben Franklin Station
Washington, DC 20044-0875
Telephone: (202) 616-0341
Email: shane.huang@usdoj.gov

Attorneys for the United States

                    UNITED STATES DISTRICT COURT
                         DISTRICT OF HAWAII


 UNITED STATES OF AMERICA,
          Plaintiff,
     v.                                      Civ. No. 18-145 JMS RT
 SANDWICH ISLES COMMUNI-
 CATIONS, INC., et al.,
          Defendants.


    NOTICE OF SUCCESSFUL BID FOLLOWING PUBLIC AUCTION

      The United States respectfully files this Notice of Successful Bid Following

Public Auction. A public auction (the “Auction”) was held at 12:00 p.m. on May 20,

2024, in accordance with the Order Approving the United States of America’s

Unopposed Motion for Order Approving Execution Sale Procedures, ECF No. 535.

      Attached hereto as Exhibit A is the bid of Hawaiian Telcom, Inc. (“HTI”) that

was declared as the highest and best bid for the “Acquired Assets” (as defined in the

bid) following the Auction held by the United States Marshal.

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      Plaintiff’s motion for confirmation of the execution sale consistent with the

bid of HTI will be forthcoming.

Date: May 23, 2024                    Respectfully submitted,

                                      BRIAN BOYNTON
                                      Principal Deputy Assistant Attorney General

                                      RACHEL S. MORIYAMA #3802
                                      Civil Chief, District of Hawaii
                                      Attorney for the United States
                                      Acting under Authority Conferred by 28
                                      U.S.C. § 515

                                      /s/ Shane Huang
                                      KIRK T. MANHARDT
                                      SHANE HUANG
                                      (Illinois Bar 6317316)
                                      MINIARD CULPEPPER JR.
                                      (MA Bar No. 693851)
                                      J. ZACHARY BALASKO
                                      (W. Va. State Bar No. 12954)
                                      Civil Division
                                      United States Department of Justice
                                      P.O. Box 875, Ben Franklin Station
                                      Washington, DC 20044-0875
                                      Telephone: (202) 616-0341
                                      Email: shane.huang@usdoj.gov

                                      Attorneys for the United States




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